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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


                                   )
GRACE, et al.,                     )
                                   )
                  Plaintiffs,      )
                                   )
            v.                     )     Civil No. 18-cv-1853 (EGS)
                                   )
JEFFERSON B. SESSIONS, III,        )
Attorney General of the            )
United States, et al.,             )
                                   )
                  Defendants.      )
                                   )

                                       ORDER

       During the afternoon of August 8, 2018, Plaintiffs, eight asylum

applicants who allege they have suffered extensive past persecution

and who fear continued persecution in their countries of origin filed

a Motion for Preliminary Injunction, ECF. No. 10, and an Emergency

Motion for Stay of Removal, ECF No. 11. In their Motion for Stay of

Removal, Plaintiffs sought emergency relief because two of the

Plaintiffs, “Carmen” 1 and her daughter J.A.C.F., were “subject to

imminent removal as soon as 11:59 pm on Thursday, August 9, 2018.”

ECF No. 11 at 1.

       In light of their “imminent removal,” this Court held an

emergency hearing on August 8, 2018. At that hearing, Defendants

stated that they would not consent to staying the removal past 11:59



1   “Carmen” is proceeding under a pseudonym in this action.
                                         1
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pm Thursday August 9, 2018, but specifically represented to the Court

that “Carmen” and her daughter would not be removed prior to that

time. Based on that representation, the Court set an expedited

briefing schedule to be completed by 1:00 am Thursday, August 9,

2018, and set a hearing on the motion for that same morning.

     After hearing argument on the emergency motion, and following a

Court recess, Plaintiffs’ counsel informed the Court that, despite

the representations made by Defendants, Plaintiffs “Carmen” and her

daughter had been removed from their place of detention and could be

in the process of being removed from the United States. In an email

to this Court’s Courtroom Deputy following the hearing, government

counsel confirmed that “Carmen” and her daughter were, in fact, on an

airplane while the Court was hearing argument on Plaintiffs’

Emergency Motion.

     Upon learning in open Court that “Carmen” and her daughter had

been removed from their place of detention and could be in the

process of being removed from the country, the Court issued an oral

Order requiring the Defendants to return “Carmen” and her daughter to

the United States FORTHWITH. The Court informed government counsel

that it would neither tolerate nor excuse any delay with compliance

with this Order. The Court also stated that it would enter a written

Order memorializing its oral Order.




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     Accordingly, it is

     HEREBY ORDERED that the Defendants shall return “Carmen” and her

daughter to the United States FORTHWITH; and it is

     FURTHER ORDERED that in the event that the Defendants do not

fully comply with this Order, Defendants Attorney General Jefferson

Sessions, III; Secretary of the Department of Homeland Security

Kirstjen M. Nielsen; U.S. Citizenship and Immigration Service

Director Lee Francis Cissna; and Executive Office of Immigration

Review Director James McHenry, preferably accompanied by their

attorneys, shall be ORDERED to appear in Court to SHOW CAUSE why they

should not be held in CONTEMPT OF COURT; and it is

     FURTHER ORDERED that the Defendants shall file a status report

on the docket in this case by no later than 5:00 pm August 10, 2018,

informing the Court of the Defendants’ compliance with this Order.

     SO ORDERED.

Signed:     Emmet G. Sullivan
            United States District Judge
            August 9, 2018




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